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                                                                                                 10/30/2020-6:03-PM-
                                                                       Marilyn Burgess - District Clerk Harris County
                                                                                            Envelope No. 47703953
                                                                                                     By: Adiliani Solis
                                                                                         Filed: 10/30/2020 6:03 PM


                         CAUSE NO.

  STEVEN STELLY                               §            IN THE DISTRICT COURT OF
                            Plaintiff,        §
                                              §
 V.                                           §               HARRIS COUNTY, TEXAS
                                              §
 KROGER TEXAS, L.P.                           §
                  Defendant.                  §                      TUDICIAL DISTRICT


      PLAINTIFF'S ORIGINAL PETITION AND REQUEST FOR DISCLOSURE


 TO THE HONORABLE JUDGE OF THIS COURT:

        Plaintiff Steven Stelly ("Plaintiff') files this Original Petition against Defendant

 Kroger Texas, L.P. ("Defendant" or "Kroger").

                                  DISCOVERY LEVEL 2

        1.     Pursuant to Rules 190.1 and 190.2 of the Texas Rules of Civil Procedure,

 Plaintiff intends to conduct discovery under Discovery Control Plan Leve12.

                                          PARTIES

        2.     Plaintiff is an individual residing in Harris County, Texas. Plaintiff may be

 served through the undersigned counsel.

        3.     Defendant, Kroger Texas, L.P. is a corporation doing business in the State of

 Texas for the purpose of accumulating profits and can be served by its registered agent,

 Corporation Service Company, at 211 East 7th Street, Suite 620, Austin, Texas 78701, or

 wherever Defendant may be found. Plaintiff reyuests issuance of citation to Defendant.




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                                JORISDICTION & VENUE

        4.     Jurisdiction is proper in this Court because the amount-in-controversy is

 within the jurisdictional limits of this Court. Plaintiff seeks monetary relief of more than

 $100,000 but not more than $200,000, including damages of any kind, penalties, costs,

 expenses, pre judgment interest, and attorney's fees.

        5.     Venue is proper in this Court because a substantial part of the acts or

 omissions giving rise to Plaintiff's claims occurred in this county.

                                           FACTS

        6.     On July 3, 2018, Plaintiff was a customer on the premises of a Kroger Texas,

 L.P.'s grocery stores located at 19300 West Lake Houston Parkway, Humble, Texas 77346,

 in Harris County, Texas. Upon information and belief, at the time of the incident, Plaintiff

 was lawfully on the premises when he slipped on a foreign liquid substance and fell,

 causing him to suffer significant and painful bodily injuries as a result.

        7.     There were no caution or warning signs posted near the area where Plaintiff

 slipped and fell to wam guests such as the Plaintiff of the unreasonably dangerous

 condition. Furthermore, Defendant had actual and constructive notice of the dangerous

 condition and failed to remedy it and/ or otherwise prevent the happening of the incident.

        8.     No facts suggest that anything Plaintiff did or failed to do in any way caused

 or contributed to the collision or resulting damages.




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                                    CAUSES OF ACTION

                                           Count One
                                          (Negligence)

        9.     Plaintiff incorporates all prior paragraphs of this petition here.

        10.    Because Plaintiff was on Defendant's premises as a customer, he was an

 invitee at the time of the incident. The liquid substance was located inside of Defendant's

 premises and posed an unreasonable risk of harm to its business patrons, including Plaintiff.

 Defendant knew or reasonably should have known of the danger posed by the liquid on its

 premises. Defendant owed a duty to its customers, such as Plaintiff, to exercise ordinary

 care to keep its premises in a reasonably safe condition. Defendant breached its duty of

 ordinary care to Plaintiff in one or more of the following particulars:

               (1)      failing to follow its own policies and industry standard procedures;

               (2)      failing to place an employee next to the dangerous condition until it
                        could be remedied;

               (3)      ignoring notifications of the existence of the condition and failing to
                        take action to remedy same;

               (4)      failing to place caution signs and/or otherwise warn invitees, such as
                        Plaintiff, of the dangerous condition in the area open to invitees;

               (5)      failing to verbally warn invitees, such as Plaintiff, of the condition in
                        an open area;

               (6)      failing to make condition reasonably safe by removing hazardous
                        material from an open area; and

               (7)      failing to properly inspect and maintain its premises, knowingly aware
                        that guests continuously use their hallway.
        11.    Defendant's negligence is both the cause-in-fact and a proximate cause of

 Plaintiff's damages.


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                                          DAMAGES

        12.    Plaintiff's damages include, inter alia, injuries to his back, hip, and other

 parts of his body, which resulted in severe pain, physical impairment, discomfort, mental

 anguish, distress, and other medical problems. Plaintiff has incurred medical expenses,

 and is likely to incur future medical expenses, for the treatment of injuries caused by

 Defendant's negligence. Therefore, Plaintiff brings suit for the following damages:

               (1)     past and future physical pain and suffering;

               (2)     past and future physical impairment;

               (3)     past and future mental anguish; and

               (4)     past and future medical expenses.

                              REQUEST FOR DISCLOSURE

        13.    Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Defendant is

 requested to disclose and/or produce the information and materials described in Rule 194.2

 within fifty days (50) of the service of this request.

                               DEMAND FOR JURY TRIAL

        14.    Plaintiff demands a trial by jury on all claims.

                                           PRAYER

        Plaintiff prays that Defendant be cited to appear herein and, after a trial on the

 merits, that the Court enter judgment awarding Plaintiff actual damages and additional

 damages as allowed by law, costs of court, pre- and post judgment interest to the maximum

 extent as allowed by law, and all such other and further relief, both general and special, at

 equity and at law, to which Plaintiff may be justly entitled.



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                                      Respectfully submitted,

                                      CoLLuM Law FntM, P.C.

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